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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
        v.                                        §        CRIMINAL NO. 1:21-CR-00314
                                                  §
SHAWN BRADLEY WITZEMANN                           §


                DEFENDANT’S UNOPPOSED MOTION TO CONTINUANCE


TO THE HONORABLE SENIOR UNITED STATES DISTRICT JUDGE:

        COMES NOW Defendant, through Counsel and requests a continuance of the sentencing

in this case.

        Currently, sentencing is set for November 4, 2022 at 10:00AM.

        However, Defense Counsel is still collecting information relevant and necessary to his

sentencing.

        Therefore, we respectfully request that the sentencing be continued to on or after

December 16, 2022.

        This request is in the interest of justice and not merely for purposes of delay.

        Defense Counsel has discussed this motion with Assistant U.S. Attorney Christopher

Amore, who is unopposed to our request.
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       WHEREFORE, premises considered, the Defendant very respectfully requests that This

Honorable Court grant this unopposed motion for continuance and reset the

sentencing to on or after December 16, 2022.

                                                  Very respectfully,


                                                  /S/ Guy L. Womack

                                                  Guy L. Womack
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                                CERTIFICATE OF SERVICE

      A copy of the foregoing was delivered via email to Government Counsel on this 3rd day
of November, 2022.



                                                  /S/ Guy L. Womack
                                                  Guy L. Womack
